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                     IN THE UNITED STATES DISTRICT COURT FOR
                             THE DISTRICT OF COLUMBIA

MELVIN BROWN,                                  )
                                               )
       Plaintiff,                              )
                                               )
                                               )
       v.                                      )       Case No: 14-00140 (TSC)
                                               )
                                               )
SANDRA HILL, et al.,                           )
                                               )
       Defendants.                             )

                                       NOTICE OF FILING

       1.      On July 21, 2022, counsel for David Walker filed a suggestion of death as to

David Walker, a defendant in the above-referenced case, pursuant to Fed. R. Civ. P. 25. See

Dkt.# 160. Because the notice of suggestion of death does not indicate, identify or otherwise

provide any information as to who can be substituted for David Walker as a defendant in the

case, this case cannot be dismissed after ninety (90) days of the notice under Fed. R. Civ. P. 25,

et seq. Rende v. Kay, 415 F.2d 983, 985 (D.C. Cir. 1969) also see Blakemore v. City of Alpena, et

al, 2020 cv 10248 (E.D. Mich. 2020)(collecting cases) Eddy v. Multiband Corp., No. 10–CV–

113592011, WL 653386, at *3 (E.D. Mich. Feb. 14, 2011) (finding that “[u]ntil a submission is

made in writing suggesting the death of a party and identifying the representative to be

substituted with appropriate service of process made on all parties and persons not parties to the

action, the 90-day period does not begin to run.”); Dietrich v. Burrows, 164 F.R.D. 220, 221

(N.D. Ohio 1995) (“the law is well settled that the Suggestion of Death must identify the

successor or representative of the deceased.”); Smith v. Planas, 151 F.R.D. 547 (S.D. N.Y. 1993)

(“It is well settled that for a suggestion of death to be valid and invoke the 90 day limit, it must

identify the successor or representative who may be substituted for the decedent.”).
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                             CERTIFICATE OF SERVICE
       I do hereby certify that on this 1st day of August 2022, a copy of this Notice of Filing

was served by email and ECF Process on:

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